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                      EXHIBIT 1
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                                                                          2808


     1                      UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK
     2
           -------------------------------X
     3     BARBARA DAVIDS,
                                          :        CV-06-0431
     4                                             (ADS)
                       Plaintiff,
     5                                         :   United States Courthouse
                -against-                          Central Islip, New York
     6
           NOVARTIS PHARMACEUTICALS
     7     CORPORATION, et al.,
                                          : November 1, 2012
     8                 Defendants.           9:45 a.m.
           -------------------------------X
     9                          TRANSCRIPT OF TRIAL
                         BEFORE THE HONORABLE ARTHUR D. SPATT
    10                UNITED STATES DISTRICT COURT JUDGE, and a jury.

    11     APPEARANCES:
           For the Plaintiff:            JOHN J. VECCHIONE, ESQ.
    12                                   Valad & Vecchione, PLLC
                                         3863 Plaza Drive
    13                                   Fairfax, Virginia 22030

    14                                   JOHN J. BEINS, ESQ.
                                         Beins, Goldberg, & Hennessey LLP
    15                                   Chevy Chase Metro Building
                                         2 Wisconsin Circle, Suite 700
    16                                   Chevy Chase, Maryland 20815

    17     For the Defendants:           BRUCE J. BERGER, ESQ.
                                         ROBERT E. JOHNSTON, ESQ.
    18                                   Hollingsworth, LLP
                                         1350 I Street, N.W.
    19                                   Washington, D.C. 20005

    20                                   JACQUELINE BUSHWACK, ESQ.
                                         Rivkin Radler
    21                                   926 RXR Plaza
                                         Uniondale, New York 11556
    22
           Official Court Reporter:        Paul J. Lombardi, RMR, FCRR
    23     Ph. (631) 712-6106              100 Federal Plaza - Suite 1180
           Fax (631) 712-6122              Central Islip, New York 11722
    24
                       Proceedings recorded by mechanical stenography.
    25                         Transcript produced by CAT.


                            Paul J. Lombardi, RMR, FCRR
                        Official US District Court Reporter
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                           Rebuttal Summation - Mr. Beins
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     1                             AFTERNOON SESSION

     2

     3                THE CLERK:    Jury entering.

     4                (Jury enters the courtroom.)

     5                THE COURT:    Please be seated, members of the

     6     jury.

     7                Madame Deputy, you may make the announcement.

     8                THE CLERK:    The court is about to charge the

     9     jury.

    10                Any person who wishes to leave may do so now.

    11     No one will be permitted to enter or leave during the

    12     court's charge.

    13                THE COURT:    Members of the jury, now that the

    14     evidence in this case has been presented and the attorneys

    15     for the plaintiff and the defendant have concluded their

    16     closing arguments, it is my responsibility to instruct you

    17     as to the law that governs this case, after which you will

    18     retire for your deliberations.

    19                You must pay close attention to me as I instruct

    20     you on the law.    I will go as slowly as I can, and be as

    21     clear as possible.     I told you at the very start of the

    22     trial that your principle function during the taking of

    23     testimony would be to listen carefully, and observe each

    24     witness who testified.      It has been obvious to me and to

    25     counsel that you have faithfully discharged this duty.


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                           Rebuttal Summation - Mr. Beins
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     1                  Your interests never declined, and it is evident

     2     that you followed the testimony at this trial with close

     3     attention.

     4                  My instructions will be in three parts.

     5                  First, I will instruct you regarding the general

     6     rules that define and govern the duties of a jury in a

     7     civil case.

     8                  Second, I will instruct you as to the legal

     9     elements of the three causes of action at issue and the

    10     rights and obligations of the respective parties.

    11                  And, third, I will give you some general rules

    12     regarding your deliberations.

    13                  To start with, your function as jurors is to

    14     determine what the facts are, what happened here, and

    15     apply the rules of law that I give to you to the facts as

    16     you determine them to be.      The conclusions thus reached

    17     will be your verdict.     You will determine what the facts

    18     are from all the testimony that you heard, and the

    19     exhibits that were introduced in evidence.

    20                  You are the sole and exclusive judges of the

    21     facts.    In that field, neither I nor anyone else may

    22     invade your province.     I have endeavored to proceed side

    23     fairly and impartially, and not to express any opinion

    24     concerning the facts.     Any views of mine on the facts

    25     would, in any event, be totally irrelevant.


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                           Rebuttal Summation - Mr. Beins
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     1                 On the other hand, and with equal emphasis, I

     2     instruct you that you are bound to accept the rules of law

     3     that I give you, whether you agree with them or not.           It

     4     is your duty as jurors to follow the law as I shall state

     5     it to you, and to apply that law to the facts as you find

     6     them from the evidence in the case.

     7                 You are not to single out one instruction alone

     8     as stating the law, but must consider the instructions as

     9     a whole.    In the course of the trial, or in their closing

    10     arguments, the attorneys may have referred to some rules

    11     of law.    If there appears to you to be any difference

    12     between the law as stated by counsel, and the law as I now

    13     state it to you, it is my instruction on the law that you

    14     must follow.

    15                 You have now heard all of the evidence

    16     introduced by both sides, and through arguments of their

    17     respective attorneys you have learned the conclusions

    18     which each party believes should be drawn from the

    19     evidence presented to you.      In accordance with your oath

    20     as a juror, in determining the issues of fact presented in

    21     this case, it is your duty as jurors to consider the

    22     evidence before you with complete impartiality, and to

    23     render your verdict without bias, prejudice or sympathy as

    24     to either party.

    25                 Both parties are equal before the law, and you


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                           Rebuttal Summation - Mr. Beins
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     1     can assume that the case is important to both parties.

     2                So that this case should be considered and

     3     decided by you as an action between parties of equal

     4     standing in the community, corporations are entitled to

     5     the same fair trial at your hands as a private person.

     6     All persons, including individuals and corporations, stand

     7     equal before the law, and are to be dealt with as equals

     8     in a court of justice.

     9                During the trial, you have heard the attorneys

    10     make objections to certain questions, and to the

    11     admissibility of certain exhibits.        The attorneys have a

    12     right and an obligation to make such objections, and no

    13     inference should be made by you with regard to such

    14     objections.

    15                You may recall that at the beginning of the

    16     trial, a long time ago, I stated for you certain

    17     principles, so that you could have them in mind as the

    18     trial progressed.     Briefly they were that you are bound to

    19     accept the law of the case as I give it to you, whether or

    20     not you agree with it, further, that you must not infer

    21     from my rulings, or from anything that I have said during

    22     the trial that I hold any views for or against either

    23     party to this lawsuit, my views being completely

    24     irrelevant to your determinations, in any event.

    25                Further, nothing I have said or done during the


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                           Rebuttal Summation - Mr. Beins
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     1     trial should be taken by you as expressing any opinion by

     2     me about the facts.     Also on occasion I have asked

     3     questions of a witness.      You should attach no special

     4     significance to these questions because they were asked by

     5     the court.    My questions were asked to attempt to clarify

     6     a point, or to expedite matters.       It is your function to

     7     determine the facts, not mine.

     8                  Further, you may not draw any inference from an

     9     unanswered question or consider testimony which has been

    10     stricken in reaching your conclusions.

    11                  Further, in deciding the degree of weight you

    12     choose to give to the testimony of any particular witness,

    13     there is no magical formula which can be used.          In your

    14     everyday affairs you determine for yourselves the

    15     reliability or unreliability of statements made to you by

    16     others.   The same tests that you use in your everyday

    17     dealings are the tests which you apply in your

    18     deliberations.

    19                  For example, the interest or lack of interest of

    20     any witness in the outcome of this case, the bias or

    21     prejudice of a witness, if there be any, the relationship

    22     of the witnesses to the parties to the lawsuit, the

    23     appearance, the manner in which the witness gives his or

    24     her testimony on the stand, the opportunity that the

    25     witness had to observe the facts concerning which he or


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                           Rebuttal Summation - Mr. Beins
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     1     she testifies, the probability or improbability of the

     2     witness's testimony, when viewed in the light of all the

     3     other evidence in the case, are all factors, among others,

     4     to be taken into your consideration in determining the

     5     weight, if any, you will give to the testimony of that

     6     witness.

     7                  How do you determine the credibility of a

     8     witness?   You watched the witnesses testify.        How did the

     9     witness impress you?     Did he or she appear to be frank,

    10     forthright and candid, or evasive and edgy, as if hiding

    11     something?    How did the witness appear?      What was his or

    12     her demeanor, that is, his or her carriage, behavior,

    13     manner, and appearance while testifying.

    14                  You may consider whether any witness has

    15     demonstrated bias, prejudice or hostility toward either

    16     the plaintiff or defendant in determining the weight to be

    17     accorded to that witness's testimony.        In other words,

    18     what you must try to do in deciding credibility is to

    19     evaluate a witness in light of his or her demeanor, the

    20     explanations given, and all the other evidence in the

    21     case.   Always remember that you should use your common

    22     sense, your good judgment, and your own life experience.

    23                  If such considerations make it appear that there

    24     is a discrepancy in the evidence, you will have to

    25     consider whether the apparent discrepancy may not be


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                           Rebuttal Summation - Mr. Beins
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     1     reconciled by fitting the several versions together.           If,

     2     however, that is not possible, you will then have to

     3     determine which of the conflicting versions you will

     4     accept.

     5                 In making the factual determinations on which

     6     your verdict will be based you may consider only the

     7     testimony of the witnesses as you have heard it in this

     8     courtroom, and the exhibits which have been admitted into

     9     evidence.   Also, there has been read to you testimony

    10     given by deposition, and by video deposition.         Under our

    11     rules of practice, a deposition is taken under oath, and

    12     is entitled to equal consideration by you, notwithstanding

    13     the fact that it was taken prior to the trial, and outside

    14     the courtroom.

    15                 However, the arguments, remarks, opening

    16     statements and summations of the opposing attorneys are

    17     not evidence.    Also, anything that I now say or may have

    18     said with regard to the facts is not evidence.          As I

    19     stated, the evidence in this case consists of the sworn

    20     testimony of the witnesses, regardless of who may have

    21     called them, the deposition and video deposition

    22     testimony, and all the exhibits received in evidence,

    23     regardless of who may have produced them.

    24                 As I advised you, the evidence in this case is

    25     the sworn testimony of the witnesses, the deposition and


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                           Rebuttal Summation - Mr. Beins
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     1     video deposition testimony, and the exhibits received in

     2     evidence.    Unanswered questions are not evidence.        I also

     3     advised you that the gratuitous statements by the

     4     attorneys are not evidence.       What they may have said to

     5     you in their opening statements and in their summations is

     6     intended to help you understand and evaluate the evidence

     7     in reaching your verdict.

     8                 However, if your recollection of the facts

     9     differs from the lawyers' statements, it is your

    10     recollection that controls.

    11                 As I said, testimony that has been stricken or

    12     excluded is not evidence, and may not be considered by you

    13     in rendering your verdict.       You will recall that I granted

    14     many motions to strike testimony as not being responsive.

    15     Please adhere to that instruction.

    16                 To constitute evidence, exhibits must be

    17     received in evidence.      Exhibits marked for identification

    18     but not admitted are not evidence, nor are materials

    19     produced only to refresh a witness's recollection.           It is

    20     for you alone to decide the weight if any to be given to

    21     the testimony you have heard, and the exhibits that were

    22     introduced.

    23                 The plaintiff, Barbara Davids, and her son, Ian

    24     Newman, testified at this trial.        They are what we call

    25     interested witnesses.      An interested witness is not


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                           Rebuttal Summation - Mr. Beins
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     1     necessarily less credible than a disinterested witness.

     2     The fact that a witness is interested in the outcome of

     3     the case does not mean that she or he has not told the

     4     truth.

     5                 It is for you to determine, from her or his

     6     demeanor on the stand, and such other tests as your

     7     experience dictates whether or not her or his testimony

     8     has been influenced, intentionally or unintentionally, by

     9     her or his interest.      You are at liberty, if you deem it

    10     proper under all of the circumstances to do so, to

    11     disbelieve the testimony of such an interested witness,

    12     even though it is not otherwise impeached or contradicted.

    13                 However, you are not required to disbelieve such

    14     a witness, and may accept all or such part of her or his

    15     testimony as you deem reliable, and reject such part as

    16     you deem unworthy of acceptance.

    17                 The defendant Novartis Pharmaceuticals

    18     Corporation is a corporation for brevity's sake, I will

    19     refer to the defendant corporation as Novartis.          Under the

    20     law, a corporation is a person, but it can only act

    21     through its employees, agents or officers.         The law,

    22     therefore, holds a corporation responsible for the acts of

    23     its employees, officers and/or agents, but only if those

    24     acts are authorized.      An act is authorized if it is part

    25     of the ordinary course of employment after the person


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                           Rebuttal Summation - Mr. Beins
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     1     doing it, and in furtherance of the business of the

     2     corporation.

     3                 The fact that the defendant Novartis is a

     4     corporation should not affect your decisions.          All persons

     5     are equal before the law.       Corporations, whether large or

     6     small, are entitled to the same fair and conscientious

     7     consideration by you as any other person.

     8                 Dr. Dionigi Maladorno, Joe Ann Machalaba,

     9     Stefano Fratarcangeli -- I got that one right -- David

    10     Epstein, and Dr. Diane young testified at the trial.           Did

    11     I leave somebody out?      Who was the last one?

    12                 MR. VECCHIONE:    Carsten Goessl, your Honor.

    13                 THE COURT:    No, as an employee.

    14                 MR. VECCHIONE:    Okay.

    15                 THE COURT:    Okay.

    16                 All of those people testified at the trial.         At

    17     the time of the occurrences involved in this case they

    18     were and still are employees of the defendant Novartis.

    19     The fact that these witnesses were, and still are,

    20     employees of the defendant Novartis may be considered by

    21     you in determining whether their testimony was in any way

    22     influenced by their employment relationship with the

    23     defendant Novartis.

    24                 Dr. Linda Weiss, Dr. Peter Tarassoff and

    25     Dr. Carsten Goessl, G-O-E-S-S-L, testified at the trial.


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                           Rebuttal Summation - Mr. Beins
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     1     They were former employees of the defendant Novartis.           The

     2     fact that these witnesses were formerly employed by the

     3     defendant Novartis may be considered by you in determining

     4     whether their testimony was in any way influenced by their

     5     former employment relationship with the defendant

     6     Novartis.

     7                 This is a big charge, this one coming up.          It's

     8     on expert witnesses because there were a lot in this case.

     9     You will recall that Dr. Richard Allen Kraut gave

    10     testimony in the field of oral surgery.         Dr. Perry Perzov

    11     gave testimony in the field of dentistry.         Dr. Eileen

    12     Sheehy-Milano gave testimony in the field of oncologist.

    13                 Dr. Robert Marx and Dr. Salvatore Ruggiero gave

    14     testimony in the field of oral and maxillofacial surgery.

    15     Dr. Wayne Ray gave testimony in the field of epidemiology

    16     also, Dr. Kenneth Fleischer gave testimony in the field of

    17     oral and maxillofacial surgery.        Dr. Suzanne Parisian gave

    18     testimony with regard to the Food and Drug Administration.

    19     Dr. Arthur Goldberg gave testimony in the field of

    20     oncology.    Dr. Janet Arrowsmith gave testimony in the

    21     field of the Food and Drug Administration, and Dr. Graham

    22     Russell gave testimony in the field of bone medicine.

    23                 When a case involves a matter of dentistry,

    24     dental surgery, oncology, and diseases of the bones of the

    25     jaw, the reaction to certain medications, and the Food and


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                           Rebuttal Summation - Mr. Beins
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     1     Drug Administration, requiring special knowledge or skill

     2     not possessed by the average person, an expert is

     3     permitted to state opinions for the information of the

     4     court and jury.     The opinions stated by the experts were

     5     based on particular facts as the experts, themselves,

     6     observed, or as the attorney who questioned them asked

     7     them to assume.

     8                 An expert is allowed to express an opinion on

     9     those matters about which the expert has special knowledge

    10     and training.     Expert testimony is presented to you on the

    11     theory that someone who is experienced in the field can

    12     assist you in understanding the evidence, or in reaching

    13     an independent decision on the facts.

    14                 You may reject the expert's opinion if you find

    15     the facts to be different from those which form the basis

    16     for the opinion.     You may also reject the opinion if,

    17     after careful consideration of all the evidence in the

    18     case, expert and other, you disagree with the opinion.           In

    19     other words, you are not required to accept an expert's

    20     opinion, to the exclusion of the facts and circumstances

    21     disclosed by other testimony.

    22                 Such an opinion is subject to the same rules

    23     concerning reliability as the testimony of any other

    24     witness.    It is given to assist you in reaching a proper

    25     conclusion.     It is entitled to such weight as you find the


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                           Rebuttal Summation - Mr. Beins
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     1     expert's qualifications in the field warrant, and must be

     2     considered by you, but is not controlling upon your

     3     judgment.

     4                 You have heard testimony of experts who have

     5     been called by both sides to give their opinions about the

     6     prescription drug Zometa, the qualities of that drug,

     7     cancer and its effect on bones, and the Food and Drug

     8     Administration.     The experts who testified in this case

     9     did so in order to assist you in reaching your decisions

    10     on the multiple issues in this case involving the drug

    11     Zometa.

    12                 Some of the testimony of the experts is in

    13     conflict.    The experts disagree about some matters.         It

    14     may seem strange to you that you are called upon to

    15     resolve a conflict between experts who disagree, but you

    16     must remember that you are the sole trier of the facts and

    17     their testimony relates to questions of fact, and among

    18     these questions of fact are whether the defendant is

    19     liable for the sale and distribution of Zometa at the time

    20     involved in this case, whether Zometa was a cause of

    21     osteonecrosis of the jaw of the plaintiff Barbara Davids,

    22     whether there was a failure to warn the appropriate

    23     doctor, whether Novartis properly advised the Food and

    24     Drug Administration as to the dangers of Zometa, and

    25     whether the labels of Zometa properly warned the


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                           Rebuttal Summation - Mr. Beins
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     1     prescribing physician, among other issues.

     2                 Therefore, it is your job to resolve these

     3     disagreements.     The way you resolve the conflict between

     4     experts is the same way that you decide other fact

     5     questions, and the same way you decide whether to believe

     6     ordinary witnesses.      In addition, since they gave expert

     7     opinions, you may consider the reasons for the opinions,

     8     and each expert's motive, if any, for testifying.          All of

     9     this may be considered by you.

    10                 You may give the testimony of each expert such

    11     weight, if any, that you think it deserves in the light of

    12     all the evidence.     You should not permit an expert's

    13     testimony to be a substitute for your own reason, judgment

    14     and common sense.

    15                 You may reject the testimony of any expert, in

    16     whole or in part, if you consider the reasons given in

    17     support of an opinion are unsound, or if you, for other

    18     reasons, do not believe the expert witness.         The

    19     determination of facts in this case rests solely with you.

    20                 I told you that evidence comes in various forms

    21     such as the sworn testimony of witnesses, and exhibits.

    22     There are, in addition, different kinds of evidence,

    23     direct evidence and circumstantial evidence.

    24                 Direct evidence is where a witness testifies to

    25     what he or she saw, heard or felt.        In other words, when a


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                           Rebuttal Summation - Mr. Beins
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     1     says testifies about what is known by the witness's own

     2     knowledge by virtue of the witness's own senses, what he

     3     or she sees, touches or hears.       That is called direct

     4     evidence.

     5                 Circumstantial evidence is evidence which tends

     6     to prove a disputed fact by proof of other facts.          There

     7     is a simple example of circumstantial evidence which is

     8     often used.    Assume that when you came into the courthouse

     9     this morning the sun was shining -- unlike Monday and

    10     Tuesday -- the sun was shining, and it was a nice day.

    11     Also assume, as is the case, that this courtroom has no

    12     windows, and you cannot look outside.

    13                 As you are sitting here, someone walks in

    14     shaking an umbrella, which is dripping wet.         Somebody else

    15     then walks in with a raincoat which is also dripping wet.

    16     Now, you cannot look outside of the courtroom, and you

    17     cannot see whether or not it is raining.         So you have no

    18     direct evidence of that fact.       But on the combination of

    19     facts which I have asked you to assume, it would be

    20     reasonable and logical for you to conclude that it was

    21     raining outside.

    22                 Of course, not all circumstantial evidence

    23     presents such a clear, compelling inference, and the

    24     strength of inferences arising from other circumstantial

    25     evidence is for you to determine.        That is all there is


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                           Rebuttal Summation - Mr. Beins
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     1     from circumstantial evidence.       You infer on the basis of

     2     reason and experience and common sense from an established

     3     fact the existence or the nonexistence of some other fact.

     4     Please bear in mind, however, that an inference is not to

     5     be drawn by guesswork or speculation.

     6                 Circumstantial evidence is of no less value than

     7     direct evidence, for it is a general rule that the law

     8     makes no distinction between direct and circumstantial

     9     evidence.    You are to consider all the evidence in the

    10     case, both direct and circumstantial, in determining what

    11     the facts are and in arriving at your verdict.          I remind

    12     you, however, that inferences are not to be drawn by you

    13     based on guesses, speculation or conjecture.

    14                 You have heard evidence that at some earlier

    15     time witnesses have said something which counsel argue is

    16     inconsistent with the witness's trial testimony.          These

    17     alleged inconsistent statements were made in the

    18     depositions in this case.       Evidence of a prior

    19     inconsistent statement was placed before you for the

    20     purpose of helping you to decide whether to believe the

    21     trial testimony of the witness who contradicted himself or

    22     herself.

    23                 If you find that the witness made an earlier

    24     statement that conflicts with his or her trial testimony,

    25     you may consider that fact in deciding how much of his or


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     1     her trial testimony, if any, to believe.         In making this

     2     determination, you may consider whether the witness

     3     purposely made a false statement, or whether it was an

     4     innocent mistake, whether the inconsistency concerns an

     5     important fact, or whether it had to do with a minor

     6     detail.    Whether the witness had an explanation for the

     7     inconsistency, and whether that explanation appealed to

     8     your common sense.

     9                  It is exclusively your duty, based on all the

    10     evidence and your own good judgment determine whether the

    11     prior statement was inconsistent and, if so, how much if

    12     any weight to give to the inconsistent statement in

    13     determining whether to believe all or part of the

    14     witness's testimony.      You are instructed that evidence of

    15     discrepancies may be a basis to disbelieve a witness's

    16     testimony.

    17                  On the other hand, discrepancies in a witness's

    18     testimony, or between his or her testimony and that of

    19     hers does not necessarily mean that the witness's entire

    20     testimony should be discredited.        People sometimes forget

    21     things, and even a truthful witness may be nervous and

    22     contradict himself or herself.

    23                  It is also a fact that two people witnessing an

    24     event may see or hear it differently.         Whether a

    25     discrepancy pertains to a fact of importance or only to a


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     1     trivial detail should be considered in weighing its

     2     significance, but a willful falsehood always is a matter

     3     of importance, and should be considered seriously.           It is

     4     for you to decide based on your total impression of the

     5     witness how to weigh the discrepancies, if any, in his or

     6     her testimony.     You should, as always, use common sense,

     7     and your own good judgment.

     8                 If you find that any witness has willfully

     9     testified falsely as to any material fact, the law permits

    10     you to disregard completely the entire testimony of that

    11     witness upon the principle that one who testifies falsely

    12     about one material fact is quite likely to testify falsely

    13     about everything.     You are not required, however, to

    14     consider such a witness as totally unworthy of belief.

    15                 You may accept so much of his or her testimony

    16     as you deem true, and disregard what you feel is false.

    17     By the processes which I have just described to you, as

    18     the sole judges of the facts, you must determine which of

    19     the witnesses you believe, what portion of their testimony

    20     you accept, and what weight you will give to it.

    21                 As I advised you, this case should be considered

    22     and decided by you as an action between parties of equal

    23     standing in the community.       All persons and corporations

    24     stand equal before the law, and are to be dealt with as

    25     equals in court.     In reaching your verdict you are not to


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     1     be affected by sympathy or any of the parties, what the

     2     reaction of the parties or of the public to your verdict

     3     may be, whether it will please or displease anyone, be

     4     popular or unpopular, or, indeed, any consideration

     5     outside the case presented to you in this courtroom.           You

     6     should consider only the evidence, both the testimony and

     7     the exhibits, find the facts from what you consider to be

     8     the believable evidence, and apply the law as I now give

     9     it to you to those facts.

    10                 Your verdict will be determined by the

    11     conclusions thus reached, no matter whom the verdict helps

    12     or hurts.

    13                 If in the course of your deliberations your

    14     recollection of any part of the testimony should fail, or

    15     you should find yourself in doubt concerning my

    16     instructions to you on the law, it is your privilege, if

    17     you so desire, to return to the courtroom for the purpose

    18     of having such testimony or instructions read back to you.

    19     It would be useful for you to be specific as to whether

    20     you want all of the witness's testimony reread, in which

    21     case that is what will be done, even though it will take a

    22     long time to do so, or if you only want to hear a portion

    23     of the testimony of a witness dealing with a specific

    24     issue, let us know that.

    25                 I also caution you that it will take a long time


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     1     to locate the particular portion of the testimony in the

     2     court record, and for us to agree on the correct portion

     3     to be read.    So please be patient with us.       If you request

     4     a readback of the testimony, it generally takes a long

     5     time to obtain the correct portion of the minutes.

     6                 Any questions from the jury should be in writing

     7     from the foreperson, who you will select.         You have many

     8     of the exhibits already.      We will send all the remaining

     9     exhibits, if there are any, as you commence your

    10     deliberations.     Also to assist you, we will send in to you

    11     a list of the exhibits.

    12                 Further, as soon as these instructions to you

    13     are prepared in final written form, these instructions

    14     called the charge will be sent in to the jury deliberation

    15     room for your use.     You must consider all the instructions

    16     in the charge.

    17                 When I refer to the contentions of the parties I

    18     give you these words of warning, what I say about the

    19     facts is not evidence, just as what the lawyers say about

    20     the facts is not evidence.       It is your recollection of the

    21     facts that governs, not mine.       I'm not attempting to

    22     review the testimony.      You and only you must decide the

    23     facts from your own recollection of the evidence.

    24                 And if I refer to contentions of the parties I

    25     caution you strongly that these contentions are not


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     1     evidence.    These contentions are only the claims made by

     2     each of the parties based on what that party contends was

     3     adduced in the testimony or exhibits.         If any of these

     4     contentions conflicts with what you find the evidence has

     5     shown, disregard such a contention.

     6                 I will now instruct you, finally, I will now

     7     instruct you as to the legal elements of the three causes

     8     of action advanced by the plaintiff against the defendant.

     9     There are three theories of liability in this case.

    10                 First, the plaintiff sued the defendant Novartis

    11     with regard to the osteonecrosis of the jaw sustained by

    12     the plaintiff on a theory known as strict products

    13     liability, strict products liability, with regard to a

    14     defect in the labels, namely, a failure to warn of the

    15     dangers of contracting osteonecrosis of the jawbone by the

    16     infusion of the drug Zometa.

    17                 Second, the plaintiff sues the defendant

    18     Novartis on a theory known as breach of the implied

    19     warranty of fitness for use, breach of the implied

    20     warranty of fitness for use.       With regard to the failure

    21     to warn of the dangers in the use of the drug Zometa,

    22     namely, that it could cause osteonecrosis of the jawbone.

    23                 Third, the plaintiff sues the defendant Novartis

    24     alleging that the injuries sustained by Barbara Davids

    25     were due to the defendant's negligence in the failure to


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     1     warn that the drug Zometa could cause osteonecrosis of the

     2     jawbone.

     3                 On its part, the defendant Novartis denies any

     4     responsibility under any of these theories, and contends,

     5     first, it is not liable under the strict products

     6     liability cause of action because there was no failure to

     7     warn with regard to Zometa at the time of the plaintiff's

     8     usage.

     9                 Second, there was no breach of the implied

    10     warranty of fitness for use by a failure to warn of the

    11     dangers of the use of Zometa.

    12                 And, third, there was no negligence by Novartis

    13     with regard to the failure to warn of the dangers or risks

    14     posed by the infusion of Zometa.

    15                 So that you will approach your deliberations in

    16     the following manner:

    17                 First, you will decide whether the defendant

    18     Novartis is responsible under the strict products

    19     liability cause of action with regard to the alleged

    20     failure to warn under the rules of law I will give you.

    21                 And, second, you will decide whether the

    22     defendant Novartis breached the implied warranty of

    23     reasonable fitness for use and reasonable warnings.

    24                 And, third, in the negligence cause of action,

    25     you will decide whether the defendant Novartis was


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     1     negligent in the failure to warn with regard to the use of

     2     Zometa, which negligence was a proximate cause of the

     3     osteonecrosis of the jaw of the plaintiff Barbara Davids.

     4                 If you decide that the plaintiff failed to prove

     5     any of these theories, your verdict will be in favor of

     6     the defendant on all the causes of action, and you need

     7     not consider any other issues.

     8                 If you decide that the defendant Novartis is

     9     liable under any of these causes of action, then you must

    10     determine the amount of damages to the plaintiff

    11     Barbara Davids.     As you have been advised in all these

    12     endeavors, you will be assisted by a written verdict sheet

    13     with questions for you to answer.

    14                 Now with respect to the burden of proof, what do

    15     we mean by the burden of proof?        In this case the burden

    16     of proof with regard to the alleged liability of defendant

    17     Novartis under the doctrine of strict products liability,

    18     breach of implied warranty, and negligence as to the

    19     injuries and damages sustained by the plaintiff, is on the

    20     plaintiff, Barbara Davids.       She has the burden of proof.

    21                 When a party has the burden of proof on a

    22     particular issue, that means that considering all the

    23     evidence in the case, that party's contention on that

    24     issue must be established by a preponderance of the

    25     credible evidence.     The credible evidence means that


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     1     testimony or exhibits that you find worthy to be believed.

     2     A preponderance means the greater part of it.

     3                 That does not mean the greater number of

     4     witnesses or the greater length of time taken by either

     5     side.    The phrase refers to the quality of the evidence,

     6     the weight and effect that it has on your minds.          The law

     7     requires that in order for a party to prevail on an issue

     8     on which she has the burden of proof, the evidence that

     9     supports her claim on that issue must appeal to you as

    10     more nearly representing what took place than that opposed

    11     to her claim.

    12                 If it does not, or if it weighs so evenly that

    13     you are unable to say that there is a preponderance on her

    14     side, you must resolve the question against the party who

    15     has the burden of proof, and in favor of the opposing

    16     party.    That is because the party bearing this burden, the

    17     plaintiff, must prove more than simple equality of

    18     evidence.    The plaintiff must prove the element at issue

    19     by a preponderance of the credible evidence.

    20                 On the other hand, the party with this burden of

    21     proof need prove no more than a preponderance.

    22                 In sum, a fact has been proven by a

    23     preponderance of the evidence if the jury finds that the

    24     scales tip, however slightly, in favor of the party with

    25     the burden of proof as to that fact.        Some of you may have


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     1     heard of proof beyond a reasonable doubt, which is the

     2     proper standard of proof in a criminal trial.          That

     3     requirement does not apply to a civil case such as this,

     4     and you should put it out of your mind.

     5                 Now, the first cause of action, strict products

     6     liability/failure to warn cause of action.

     7                 I will now instruct you on the plaintiff's first

     8     cause of action, which is called the strict products

     9     liability cause of action.       In this case, of course, the

    10     product we are talking about is the Zometa drug

    11     manufactured and sold by the defendant Novartis, which is

    12     the product involved in this occurrence.         A cause of

    13     action in strict products liability lies where a

    14     manufacturer of a product places on the market a product

    15     which has inadequate and insufficient warnings with regard

    16     to the known potential dangers in using the product.

    17                 A manufacturer or seller of a drug has a duty to

    18     warn the doctors who prescribe the drug if it knew or

    19     should have known about a drug's dangerous propensities

    20     that might cause an injury when using the drug in a way

    21     intended by the manufacturer.       A manufacturer of a product

    22     like Zometa, who manufactures, sells and places in use its

    23     product, with inadequate and insufficient warnings of

    24     known risks and dangers in using the product, is liable

    25     for injury which results from the use of the product, when


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     1     the product is used as intended.

     2                 A product may be defective as a result of

     3     inadequate warnings or instructions.        The burden of

     4     proving that the product was defective with regard to the

     5     warnings and that the defect with regard to the warnings

     6     was a substantial factor in causing the plaintiff's injury

     7     is on the plaintiff.

     8                 The burden of proving that the drug Zometa was

     9     defective, namely that the warnings were inadequate and

    10     failed to warn of the risk of osteonecrosis of the jaw,

    11     and that the failure to properly inform was a substantial

    12     factor in producing the injury and illness to

    13     Barbara Davids, is on the plaintiff.

    14                 It is for you to determine whether the warnings

    15     on the drug Zometa involved in this case were not

    16     reasonably safe at the time the plaintiff was infused with

    17     Zometa, in light of all the evidence presented in this

    18     case.

    19                 The defendant Novartis denies that the warnings

    20     were unsafe or insufficient, and contends that the

    21     warnings were in accordance with the information in its

    22     possession at that time, and that it complied with all

    23     government and industry standards.

    24                 In sum, the plaintiff Barbara Davids claims that

    25     the Zometa manufactured by the defendant Novartis was


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     1     defective because safety warnings were inadequate in that

     2     they failed to warn the prescribing doctors of the risk of

     3     contracting osteonecrosis of the jaw by taking Zometa.

     4     And Novartis denies that the product warnings were

     5     inadequate and asserts that the warnings were fair,

     6     correct and adequate, and represented the knowledge and

     7     information then known to Novartis.

     8                 I instruct you that the manufacturer of a

     9     product which is reasonably certain to be harmful if used

    10     in a way that the manufacturer should reasonably foresee

    11     is under a duty to use reasonable care to give adequate

    12     warnings of any danger known to it, or which in the use of

    13     reasonable care it should have known, and which the user

    14     of the product ordinarily would not discover.

    15                 Reasonable care means that degree of care which

    16     a reasonably prudent drug ever manufacturer and seller

    17     would use under the same circumstances.         I instruct you

    18     that a drug manufacturer has a duty to warn of all

    19     potential dangers which it knew, or in the exercise of

    20     reasonable care should have known to exist.

    21                 The duty to warn of dangers in the use of the

    22     product exists, even though the product itself is properly

    23     designed and made.     The manufacturer is under a duty to

    24     ascertain the nature and side effects of its product, and

    25     is presumed to have superior knowledge of these matters.


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     1     This duty does not cease after a product is manufactured

     2     or sold.

     3                 The manufacturer remains under a continuing duty

     4     to keep abreast of knowledge of its product as gained

     5     through research, adverse events reports, scientific

     6     literature and other available methods, and to take such

     7     steps as are reasonably necessary to bring that knowledge

     8     to the attention of the medical community.         The duty is to

     9     warn the medical community, not to Barbara Davids,

    10     herself.

    11                 Also in this case the defendant Novartis had a

    12     duty to warn only of risks it knew or reasonably should

    13     have known to exist during the time period prior to

    14     October 2003 and for the period from October 2003 to

    15     January 2005, when the plaintiff Barbara Davids was

    16     treated with Zometa.      A prescription drug manufacturer

    17     discharges its duty to warn by timely providing clear and

    18     accurate warnings to the medical community of those risks

    19     which the manufacturer has knowledge, or should have

    20     knowledge in the exercise of due diligence.

    21                 The manufacturer's warning must provide

    22     sufficient information to the health care providers who

    23     may have less knowledge of and experience with the drug.

    24     To be timely, a warning must be made promptly upon

    25     discovery of the association between a side effect and the


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     1     use of the drug.

     2                 The requirement of clarity in the context of a

     3     drug warning means that the language of the warning must

     4     be direct, unequivocal and sufficiently forceful to convey

     5     the danger, or the risk.      For a warning to be accurate, it

     6     must be correct, fully descriptive and complete, and it

     7     must convey updated information as to all of the product's

     8     dangers.

     9                 In other words, an adequate warning is one that

    10     clearly conveys the warning.       If you find that at the time

    11     Zometa was marketed and sold prior to and during the time

    12     period at issue no safety warnings or instructions

    13     regarding osteonecrosis of the jaw risks associated with

    14     Zometa were necessary, or that the safety warnings or

    15     instructions accompanying the product were adequate, then

    16     you will find that Zometa was not defective with regard to

    17     the warnings, and you need proceed no further in your

    18     deliberations in this strict products liability cause of

    19     action.

    20                 However, if you find that at the time Zometa was

    21     marketed and sold prior to and during the time period at

    22     issue Novartis failed to warn the medical community of the

    23     known risks associated with Zometa with regard to

    24     osteonecrosis of the jaw, then you will find that Zometa

    25     was liable -- I'm sorry -- that Novartis -- let me repeat


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     1     that.

     2                 However, if you find that at the time Zometa was

     3     marketed and sold prior to and during the time period at

     4     issue Novartis failed to warn the medical community of the

     5     known risks associated with Zometa with regard to

     6     osteonecrosis of the jaw, then you will find that Novartis

     7     was liable under the strict liability cause of action, and

     8     you will proceed then to consider whether this warning

     9     defect was a substantial factor in causing Barbara Davids

    10     injuries and illnesses in her jaw.

    11                 So that, the failure to properly warn as to the

    12     dangers of osteonecrosis of the jaw must be a substantial

    13     factor in causing the plaintiff's injuries and illnesses.

    14     The burden of proving that the failure to properly warn

    15     was a substantial factor in causing the plaintiff's

    16     injuries is on the plaintiff, namely, that the failure to

    17     adequately warn the plaintiff with regard to osteonecrosis

    18     of the jaw was a proximate cause of the injuries to her

    19     jaw.

    20                 An inadequate warning or instruction may be

    21     regarded as a substantial factor in causing the

    22     plaintiff's injury if a reasonable person would regard it

    23     as a cause of the injury.       The plaintiff need not

    24     positively exclude every other possible cause.          If you

    25     find that the failure to properly warn as to Zometa was


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     1     not a substantial factor in causing Barbara Davids's

     2     injuries, then you would proceed no further in your

     3     deliberations on this issue.

     4                 If you find that the failure to properly warn as

     5     to Zometa was a substantial factor in causing her

     6     injuries, then your verdict as to this strict product

     7     liability cause of action will be in favor of the

     8     plaintiff Barbara Davids, and you will proceed to consider

     9     what damages are necessary to compensate her for her

    10     injuries.

    11                 I'm going to give you one more cause of action

    12     and then we are going to take a break, because you are

    13     going to need it, and I'm going to need it.

    14                 The second cause of action, breach of implied

    15     warranty.    Now, what does that mean?

    16                 The second cause of action pursued by the

    17     plaintiff Barbara Davids is for breach of the implied

    18     warranty of reasonable fitness for ordinary purposes.           The

    19     law implies a warranty by a drug manufacturer that places

    20     a product on the market that it is reasonably fit for the

    21     ordinary purposes for which such a product is used.

    22                 If the product is not reasonably fit to be used

    23     for its ordinary purposes, the warranty is breached.           The

    24     plaintiff claims that the Zometa produced and sold by the

    25     defendant was not fit for its ordinary purposes because it


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     1     could cause osteonecrosis of the jaw, and the labels did

     2     not adequately warn the medical community of this risk and

     3     danger.

     4                 The defendant denies that there was such a

     5     defect in the Zometa, and, in any event, it placed full

     6     and fair warnings as to this information within its

     7     knowledge -- let me do that again.

     8                 The defendant denies that there was such a

     9     defect in the Zometa, and, in any event, it placed full

    10     and fair warnings as to the information within its

    11     knowledge at the time of these events.         If you find that

    12     the warnings on the drug Zometa during the period in

    13     question fairly and adequately expressed the knowledge of

    14     Novartis at that time, you will find that there was no

    15     breach of the implied warranty, and you will find in favor

    16     of the defendant Novartis on this cause of action.

    17                 However, if you find that the warnings on the

    18     drug Zometa did not fairly and adequately express the

    19     knowledge of Novartis as to the potential danger of

    20     contracting osteonecrosis of the jaw, then the product

    21     Zometa, and its warnings, were not reasonably fit to be

    22     used for its ordinary purposes, and you will find that the

    23     defendant Novartis breached its implied warranty of

    24     reasonable fitness for use.

    25                 If you find that the defendant Novartis breached


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     1     its implied warranty of reasonable fitness for ordinary

     2     purposes with regard to the warnings on the Zometa at

     3     issue, you will proceed to consider whether this breach of

     4     warranty was a substantial factor in causing the injuries

     5     to Barbara Davids; that is, whether a reasonable person

     6     would regard it as a proximate cause of her injuries to

     7     the jaw.

     8                 If you find that the breach of warranty was not

     9     a substantial factor in causing the injuries to the jaw of

    10     Barbara Davids, you need proceed no further in your

    11     deliberations with regard to this cause of action for

    12     breach of implied warranty.

    13                 If you find that the breach of warranty was a

    14     substantial factor in causing the injuries, then you will

    15     proceed to consider the damages issues.

    16                 I think, unless somebody wants to use the

    17     bathroom I'm going to go through the third cause of action

    18     now.   Okay.

    19                 We are going to take a 15-minute recess.         Please

    20     don't discuss the case.      Don't start deliberating, even

    21     though you heard the first two causes of action.          Wait

    22     until it's over, and then when you are in that jury room

    23     you can talk as much as you want.        I encourage you to talk

    24     about the case at that time.       But not now.

    25                 Please recess yourselves.


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     1                 (Jury leaves the courtroom.)

     2                 THE COURT:    We have a continuing problem with

     3     juror No. 12 who has only gas enough to get home --

     4                 THE CLERK:    No, he doesn't.

     5                 THE COURT:    He doesn't have enough gas to get

     6     home and could not find gas and has requested to leave

     7     early, so that he would miss the traffic going west, and

     8     try to get gas.

     9                 When he says leave early, he means very shortly.

    10     What's your thinking in the matter?

    11                 MR. VECCHIONE:    We have no objection to

    12     deliberating with 11.

    13                 THE COURT:    Pardon?

    14                 MR. VECCHIONE:    We have no objection to

    15     deliberating with 11.

    16                 MR. BERGER:    We would not want to hold up the

    17     trial or inconvenience the jurors.

    18                 I guess we agree with that if that's what the

    19     court wants to do.

    20                 THE COURT:    I'm going to speak to the juror and

    21     see what he wants to do, but would you consent to go with

    22     the 11 if I have to excuse him?

    23                 MR. BERGER:    If you have to excuse him, that's

    24     fine.

    25                 THE COURT:    Let me talk to him.


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     1                 (The following takes place in chambers hallway.)

     2                 THE COURT:    Hello.

     3                 So we hear you are having problems with gas.

     4                 A JUROR:   Yes, I am.

     5                 THE COURT:    What is it, you have your car here

     6     now?

     7                 A JUROR:   Yes, I do.

     8                 THE COURT:    How much gas do you have in the car?

     9                 A JUROR:   It's about three lines to the empty.

    10                 THE COURT:    Three lines to empty?

    11                 A JUROR:   Yes.

    12                 THE COURT:    Is it between empty and half full or

    13     is it closer to empty?

    14                 A JUROR:   Closer to empty.

    15                 THE COURT:    What do you want to do?

    16                 What is your thought?

    17                 A JUROR:   I have triple A.     I would have to call

    18     them if I can't get gas after we close today.

    19                 THE COURT:    You are going to have trouble

    20     getting gas.

    21                 Everybody's having trouble getting gas.

    22                 THE CLERK:    GSA, the building, they own this

    23     building, they are able to give you two gallons of gas.

    24                 So at least, I don't know if it's going to get

    25     you the 40 miles to your home, I'm assuming it's 40 miles


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     1     to wood haven.

     2                 A JUROR:   That would help a lot.

     3                 THE CLERK:    That's all it's going to get you, is

     4     to get one way.

     5                 A JUROR:   I think that would be good enough.

     6                 THE COURT:    When would GSA be able to do it?

     7                 THE CLERK:    They can do it now.

     8                 They are only here until 4:30 or 4 o'clock.

     9                 THE COURT:    Here's the thing.

    10                 If you want to stay on this jury, do you want to

    11     stay on this jury?

    12                 A JUROR:   Yes.

    13                 I can miss work.

    14                 THE COURT:    Well, then we have to break now and

    15     let you try to get the gas, or we can excuse you as a

    16     juror.    The thing is, tomorrow you are going to have to be

    17     back here and suppose you don't get gas, then what

    18     happens?

    19                 A JUROR:   I don't know.

    20                 THE CLERK:    If we give you the 2 gallons of gas

    21     and you drive around and try to find a station, even if

    22     the other juror can get you by the LIE, there's no

    23     guarantee those two gas stations there would even have

    24     gas.

    25                 So you would use up your 2 gallons just driving


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     1     there.

     2                 THE COURT:    I think that it's going to be a

     3     continuing problem, and although it may be a problem with

     4     the other jurors too, I think I should allow you to leave

     5     the jury, get the 2 gallons and go and not come back.

     6                 A JUROR:   Okay.

     7                 If that's your decision.

     8                 THE COURT:    I don't want to do that.

     9                 I'd rather keep you on the jury, so would

    10     everybody else, but it's not going to work out, I don't

    11     think.    We are going to try to finish the charge today.

    12     If I finish the charge, you would not be able to get the 2

    13     gallons of gas.

    14                 THE CLERK:    I think they close at 4:30 or 4

    15     o'clock.

    16                 We were looking on line to see when they were

    17     expecting deliveries out here for gas and they are saying

    18     it could be another week.       We are all going to end up

    19     having no gas left.

    20                 THE COURT:    It's going to be a problem for

    21     others besides you, but as of this time I think we ought

    22     to excuse you and get through with the charge, at least

    23     that, so that the jurors can start deliberating in the

    24     morning.

    25                 Otherwise we have to interrupt the charge.         As


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     1     much as I'd like to keep you on I think we are going to

     2     let you go.

     3                 A JUROR:   Okay.

     4                 THE COURT:    Will you arrange for him to get the

     5     gas?

     6                 THE CLERK:    Yes.

     7                 THE COURT:    Just wait here a minute and I'll let

     8     you know.

     9                 (In open court.)

    10                 THE COURT:    Did the defendants hear what I just

    11     said?

    12                 MR. BERGER:    We have a live feed from

    13     Mr. Lombardi.

    14                 THE COURT:    I didn't know that.

    15                 I would have shut it off.      So you know what the

    16     story is.

    17                 MR. BERGER:    I do.

    18                 THE COURT:    Let me tell the plaintiffs.

    19                 MR. BERGER:    Sure.

    20                 THE COURT:    My courtroom deputy arranged for

    21     juror No. 12 to get 2 gallons of gas from general services

    22     administration.     That's all they have.

    23                 But he has to get it now because they leave.         So

    24     my own opinion is we should relieve this juror, excuse

    25     this juror, and let me finish the rest of the charge, so


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     1     when they come in in the morning, they can start

     2     deliberating.

     3                 We still have 11 jurors.

     4                 MR. VECCHIONE:    That's fine with the plaintiff,

     5     your Honor.

     6                 We would like that.

     7                 THE COURT:    Any objection to that?

     8                 MR. VECCHIONE:    No, your Honor.

     9                 MR. BERGER:    No, your Honor.

    10                 We stated no objection.

    11                 THE COURT:    Okay.

    12                 I'm going to excuse him and bring the rest of

    13     the jurors in.

    14                 (The following takes place in the chambers

    15     hallway.)

    16                 THE COURT:    We are going to excuse you and you

    17     are going to arrange to get the 2 gallons for him.

    18                 THE CLERK:    Yes.

    19                 THE COURT:    And I'm going to go in to the jurors

    20     and explain to them with you.

    21                 THE CLERK:    I can mail you your certificate for

    22     you for all the days you were here.

    23                 It will go out in tomorrow's mail.        If your

    24     employer wants to verify that you were here those days

    25     they certainly can call me in the meantime.         Our fax


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     1     machine is iffy.     I can fax it to you tomorrow, but

     2     certainly call me and I can try.

     3                 A JUROR:   Okay.

     4                 THE CLERK:    The jury department said they

     5     probably won't be able to pay the jurors until Monday.

     6                 So you may not see a check this week.

     7                 A JUROR:   I'm not worried about a check.

     8                 THE CLERK:    Their systems are down also.

     9                 A JUROR:   It will be on record they served as a

    10     juror in this case?

    11                 THE COURT:    Yes.

    12                 THE CLERK:    And if you want to call me next week

    13     and see what the verdict is you certainly can call me and

    14     I'll tell you, so you are not missing that at least.

    15                 A JUROR:   After work today I'm going to look

    16     around in New York City and Queens, but if I get lucky and

    17     find gas can I call back and be allowed to continue?

    18                 THE COURT:    No.

    19                 Once you are off, you are off.

    20                 A JUROR:   Okay.

    21                 THE COURT:    Okay.

    22                 (In open court.)

    23                 THE COURT:    Well, I told juror No. 12 and I'm

    24     going to go in and explain this to the rest of the jurors.

    25                 Any objection?


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     1                  MR. VECCHIONE:    No, your Honor.

     2                  MR. BERGER:    No objection.

     3                  THE COURT:    I'll be right out to complete the

     4     charge.

     5                  (The following steps in the jury room.)

     6                  THE COURT:    This very nice gentleman has a

     7     problem, he has no gas.

     8                  We have arranged, scoured up, and I mean scoured

     9     the marshal's service has no gas, the rest of the court

    10     has no gas.    We finally got the general services

    11     administration, which is the government agency that runs

    12     the building, takes care of the cleaning, repairs, to get

    13     2 gallons.

    14                  A JUROR:   I thought you were going to say fill

    15     him up.

    16                  That won't even get him back to Brooklyn.

    17                  THE COURT:    Back, we have to get him down there

    18     now.

    19                  So I spoke to the lawyers, I would like to

    20     complete the charge before we leave today.         So we are

    21     going to have to excuse juror No. 12.         I hope that's all

    22     right with all of you, and if it's not, too bad.

    23                  I want to complete the charge, and he has to get

    24     the gas.    He can't get out of here otherwise.        So it's

    25     very nice having him, but we are going to continue with


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     1     the 11 jurors.     I wanted to explain that to you.

     2                  I'll see you inside in a few minutes.

     3                  (In open court.)

     4                  THE COURT:   I explained this to the other jurors

     5     that we are going to complete the charge.

     6                  (Whereupon, there was a pause in the

     7     proceedings.)

     8                  THE CLERK:   Jury entering.

     9                  (Jury enters the courtroom.)

    10                  THE COURT:   Please be seated, members of our

    11     patient and understanding jury.        We will continue with the

    12     instructions.

    13                  The third cause of action, the negligence cause

    14     of action.    I will now instruct you as to the negligence

    15     cause of action against the defendant Novartis.          It is the

    16     law that before the plaintiff Barbara Davids can recover

    17     in this case on the negligence cause of action, she must

    18     prove two elements by a preponderance of the credible

    19     evidence.

    20                  First, that the defendant Novartis was negligent

    21     with regard to the warnings, or lack of warnings on the

    22     drug Zometa, and, second, that such negligence on the part

    23     of the defendant Novartis was a proximate cause of the

    24     injuries to Barbara Davids.

    25                  I have used the terms negligence and proximate


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     1     cause.    I shall now define these terms for you.

     2                 The first question for you to determine is was

     3     there negligence on the part of the defendant Novartis,

     4     what, then, is negligence generally?        Negligence may not

     5     be inferred by the mere happening of incidence, or the

     6     mere fact that a person is rendered ill in certain

     7     occurrences.

     8                 Negligence is lack of ordinary care.        In this

     9     case it is a failure to exercise that degree of care which

    10     a reasonably prudent manufacturer of a drug used for

    11     cancer therapy would have exercised under the same

    12     circumstances.     It may arise from doing an act which a

    13     reasonably prudent manufacturer would not have done under

    14     the same circumstances or, on the other hand, from failing

    15     to do an fact which a reasonably prudent manufacturer of a

    16     drug such as Zometa would have done under the same

    17     circumstances.

    18                 An element for your consideration in the

    19     negligence cause of action is the doctrine of

    20     foreseeability.     Negligence requires both a foreseeable

    21     danger of injury to another, and conduct unreasonable in

    22     proportion to the danger.       A drug manufacturing firm is

    23     not responsible for the consequences of its conduct,

    24     unless the risk of injury was reasonably foreseeable.

    25                 The exact occurrence or precise injury need not


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     1     have been foreseeable, but injury as a result of negligent

     2     conduct with regard to the warnings or lack of warnings on

     3     the Zometa label must have been not merely possible, but

     4     probable.    It is the risk of injury which must be

     5     foreseeable, not the manner in which the injury occurs.

     6                 If a reasonably prudent drug manufacturing firm

     7     could not foresee any injury as a result of its conduct,

     8     or if its conduct was reasonable in light of what it could

     9     foresee, there is no negligence.        Conversely, there is

    10     negligence if a reasonably prudent firm could foresee

    11     injury as a result of its conduct, and its conduct was

    12     unreasonable in the light of what it could foresee.

    13                 Initially, as I advise you in the negligence

    14     cause of action, it is for you to determine from the

    15     evidence whether the plaintiff has established by a

    16     preponderance of the evidence that the defendant Novartis

    17     was negligent with regard to the warnings, or lack of

    18     warnings on the Zometa label, which negligence was a

    19     proximate cause of the injuries to the jaw of

    20     Barbara Davids.

    21                 As you have noted, the definition of negligence

    22     I have just given you was, in part, general in nature.

    23     This being a negligence action involving the manufacture

    24     and sale of a product, namely, the drug Zometa, allegedly

    25     the cause of osteonecrosis of the jaw of Barbara Davids,


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     1     there are other rules of law specifically dealing with

     2     such a product with which you must be apprised.

     3                 Now, in this negligence cause of action, what

     4     are the duties and obligations of the defendant Novartis

     5     as a manufacturer and seller of the drug Zometa?          A

     6     manufacturer of a product which is reasonably certain to

     7     have dangerous side effects owes a duty to exercise

     8     reasonable care in the warnings issued with the product,

     9     so that it will be reasonably safe for its normal uses.

    10                 Reasonable care means that degree of care which

    11     a reasonably prudent manufacturer of such a drug product

    12     would exercise in issues the warnings on the label and the

    13     package inserts of the product in order to prevent known

    14     harmful side effects to the user.

    15                 If you find that the warnings on the labels and

    16     package inserts of the drug Zometa, which the plaintiff

    17     Barbara Davids claims caused her osteonecrosis illness to

    18     her jawbone were inadequate and failed to warn her of this

    19     possible side effect, that with such a failure to warn the

    20     drug Zometa was reasonably certain to be dangerous when

    21     put to normal use and that the defendant failed to

    22     exercise reasonable care in warning the medical community

    23     of the known risks associated with Zometa by placing the

    24     proper warnings on the labels and inserts, your findings

    25     will be that the defendant Novartis was negligent.


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     1                 If, however, you find that the warnings on the

     2     drug Zometa were fair, adequate and did relay the then

     3     known side effects when put on the market by the

     4     defendant, or that the defendant Novartis exercised

     5     reasonable care in fairly and properly making and

     6     distributing the warnings for Zometa, your finding will be

     7     that the defendant Novartis was not negligent.

     8                 Stated simply, a manufacturer must exercise that

     9     degree of care in its warnings with regard to the sale and

    10     distribution of a drug such as Zometa so as to avoid any

    11     known unreasonable risk of harm to anyone who used the

    12     product in the manner for which the product was intended.

    13     Failure to do so will render the manufacturer liable for

    14     any injuries sustained as a result of the failure to warn.

    15                 In addition, the plaintiff claims that the

    16     defendant Novartis violated a federal regulation by

    17     negligently failing to adequately warn the medical

    18     community of the risks of osteonecrosis of the jaw

    19     associated with Zometa.      The Food and Drug Administration,

    20     section 201.57 provides in part, quote, E for easy,

    21     warnings:

    22                 Under this section heading the labelling shall

    23     describe serious adverse reactions and potential safety

    24     hazards, limitations in use imposed by them and steps that

    25     should be taken if they occur.       The labelling shall be


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     1     revised to include a warning as soon as there is

     2     reasonable evidence of an association of a serious hazard

     3     with a drug... end quote.

     4                 If you find that the defendant Novartis violated

     5     this regulation, you may consider the violation as some

     6     evidence of negligence, along with the other evidence in

     7     the case, provided that such violation was a substantial

     8     factor in bringing about the plaintiff's injuries.

     9     However, on its part, the defendant Novartis has offered

    10     evidence that Zometa and its warnings were approved by the

    11     Food and Drug Administration at all times, when the Food

    12     and Drug Administration approves a drug, it means that the

    13     Food and Drug Administration considers the drug safe and

    14     effective for an approved use.

    15                 Also in this case, I instruct you that the

    16     defendant Novartis has a duty to warn only of risks it

    17     knew or reasonably should have known to exist during the

    18     time period prior to October 2003, and for the period from

    19     October 2003 to January 2005, when the plaintiff

    20     Barbara Davids was treated with Zometa.

    21                 The second question for your to determine is

    22     proximate cause, was the negligence of the defendant

    23     Novartis with regard to the warnings on Zometa, if you so

    24     find, a proximate cause of the injuries to Barbara Davids?

    25     What do we mean by proximate cause?        An act or omission is


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     1     a proximate cause of injury if it was a substantial factor

     2     in bringing about the injury, that is, if it had such an

     3     effect in producing the injury that a reasonable person

     4     would regard it as a cause of the injury.

     5                  So that, in sum, if you find that the plaintiff

     6     has established by a preponderance of the evidence that

     7     the defendant Novartis is responsible under any of these

     8     three theories, under the rules of law I have given you,

     9     you will next turn your attention to the damages issues.

    10     Your verdict as to each of these issues, including the

    11     issues of liability, injuries and damages, must be

    12     unanimous.    All 11 of you must agree on each question

    13     presented to you for your determination.

    14                  I will now instruct you on the law of damages.

    15     You reach the issue of damages only if you find that the

    16     plaintiff proved that she is entitled to recover under the

    17     laws I have explained the law to you by a preponderance of

    18     the evidence.     The fact that I charge you on the issue of

    19     damages does not mean that the plaintiff is entitled to

    20     prevail.    That is for you to decide.      I instruct you on

    21     this subject only in the event you decide that the

    22     plaintiff has sustained her burden of proof as to

    23     liability on the part of the defendant Novartis.

    24                  If you decide that the plaintiff is not entitled

    25     to recover against the defendant Novartis, you need go no


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     1     further.    In that event, please return to the courtroom

     2     without considering the issue of damages.         Only if you

     3     decide that the plaintiff is entitled to recover against

     4     the defendant will you recover the measure of damages.

     5                  First of all, I want to instruct you that an

     6     attorney's statement to you of the amount, and I don't

     7     think there was in this case, is only that, a lawyer's

     8     statement.    It is not evidence, and it is not binding on

     9     you but, as I said, I didn't think there was a lawyer's

    10     statement on the amount.

    11                  It is your sole and exclusive function to

    12     determine the sum of money, if any, which will justly and

    13     fairly compensate the plaintiff for the illnesses and

    14     damages you find she sustained, and only from the evidence

    15     in the case based on the law I will give you, not based on

    16     an attorney's statement, claim or argument.

    17                  The purpose of awarding monetary damages in this

    18     type of action is to compensate an injured party for the

    19     damages sustained as a result of the culpable conduct of

    20     the defendant.     Your award must be fair and just.       It

    21     should neither be excessive nor inadequate.         It should be

    22     reasonable.

    23                  As to the cause of action by plaintiff

    24     Barbara Davids for her personal injuries, in assessing

    25     such damages you will affix a sum or sums that will justly


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     1     and fairly compensate her for all the injuries and

     2     illnesses you find she sustained in two categories as

     3     follows.

     4                 The first category, you must include in your

     5     verdict an award for all the illnesses, pain and suffering

     6     and the mental and emotional distress that you find she

     7     has sustained as a result of her being afflicted with

     8     osteonecrosis of the jaw as a result of her being infused

     9     with Zometa to the present date.

    10                 The plaintiff Barbara Davids is entitled to

    11     recover a sum of money which will justly and fairly

    12     compensate her for all her injuries and illnesses to her

    13     jaw caused by osteonecrosis of the jaw, and for her pain

    14     and suffering from the time of this incident to this date.

    15     In determining the award to be -- withdrawn.          In

    16     determining the amount to be awarded the plaintiff for her

    17     pain and suffering, you may take into consideration the

    18     effect that the plaintiff's injuries may have had on her

    19     ability to enjoy life.

    20                 Loss of enjoyment of life involves the loss of

    21     the ability to enjoy life's daily tasks, to participate in

    22     activities which were a part of the person's life before

    23     the injury, and to experience the pleasures of life.           If

    24     you find that the plaintiff is entitled to recover from

    25     the defendant, you must also include in your verdict


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     1     damages for any pain and suffering, mental suffering,

     2     emotional and psychological injury caused by the alleged

     3     wrongful act of the defendant.

     4                 The second category, if you find that any of the

     5     injuries or illnesses of the plaintiff Barbara Davids are

     6     permanent, you must make such allowance in your verdict as

     7     you think that circumstance warrants, taking into

     8     consideration the period of time that has elapsed from the

     9     date of the injuries, from November 2004 to January 2005,

    10     and the period of time that the plaintiff can be expected

    11     to live.

    12                 In this connection, it is pointed out to you

    13     that the plaintiff Barbara Davids, at 65 years of age, can

    14     be expected to live for greater or less than 13 years,

    15     according to the most recent life expectancy tables

    16     published by the United States Government.         Such tables

    17     are, of course, nothing more than statistical averages.

    18     They neither assure the span of life that I have given

    19     you, nor assure that the span of the life of the plaintiff

    20     will not be greater.

    21                 The life expectancy figure I have given you is

    22     not binding upon you, but may be considered by you,

    23     together with your own experience and the evidence you

    24     have heard concerning the condition of the plaintiff's

    25     health, her habits and activities in determining the


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                           Rebuttal Summation - Mr. Beins
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     1     present life expectancy of the plaintiff.

     2                 In assessing damages, the measure of damages for

     3     pain and suffering is reasonable compensation to be fixed

     4     by the jury in the light of all the evidence in the case.

     5     Consequently, the law does not try to, nor does the law

     6     permit a precise formula by which pain and suffering as an

     7     element of damage may be properly measured and reduced to

     8     dollars and cents.     Instead of providing a formula for

     9     measuring damages for pain and suffering, the law leaves

    10     the assessment of damages on a dollar and cents basis to

    11     the good common sense and good judgment of the jurors who

    12     are entrusted to reach such a conclusion and arrive at

    13     such sum as in the light of their common knowledge and

    14     their general experience, and without regard to sentiment

    15     or fanciful standards they deem fair and adequate.

    16                 In other words, without favor, without sympathy,

    17     or without any precise formula, you as jurors must arrive

    18     at a sum of money which will justly, fairly and adequately

    19     compensate the plaintiff, for all the pain and suffering

    20     you find that she endured and will endure in the future

    21     which you find was caused by the culpable conduct which is

    22     the subject of this lawsuit.

    23                 The fact that the plaintiff Barbara Davids may

    24     have a physical or mental condition that makes her more

    25     susceptible to injury than a normal healthy person does


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                           Rebuttal Summation - Mr. Beins
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     1     not relieve the defendant Novartis of liability for all

     2     injuries and illnesses sustained as a result of the

     3     wrongful conduct, if you so find.

     4                 The defendant Novartis is liable, even though

     5     those injuries and illnesses are greater than those that

     6     would have been sustained by a normal healthy person under

     7     the same circumstances.

     8                 I'm going to tell you about no double recovery.

     9     What does that mean?      If you return a verdict in favor of

    10     the plaintiff, you must award her such sum of money as you

    11     believe will fairly and justly compensate her for all the

    12     injuries and illnesses you believe she actually sustained

    13     as a direct result of the conduct of the defendant.

    14                 Here the plaintiff claims that the defendant

    15     violated her rights in three ways.        You must remember in

    16     calculating the damages that the plaintiff is entitled to

    17     be compensated only once for the injuries and illnesses

    18     and residuals she actually suffered.        Thus, if you find a

    19     defendant to be liable on more than one cause of action,

    20     you should award an amount of compensatory damages no

    21     greater than you should award if the defendant had

    22     violated only one of the plaintiff's causes of action.

    23                 So that, you must be careful in the

    24     determination of the proper measure of damages that you do

    25     not award double compensation for injuries and residuals


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                           Rebuttal Summation - Mr. Beins
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     1     resulting from violation of several different causes of

     2     action.

     3                 Now I'm going to talk to you about punitive

     4     damages.    In addition to actual damages, the law permits

     5     the jury under certain circumstances to award the injured

     6     person punitive damages in order to punish the wrongdoer

     7     for some extreme or outrageous misconduct.         To recover

     8     punitive damages against the defendant Novartis, the

     9     plaintiff Barbara Davids must prove that punitive damages

    10     should be awarded by clear and convincing evidence.

    11                 Clear and convincing evidence, unlike a

    12     preponderance of the evidence which governs all the three

    13     causes of action, clear and convincing evidence is

    14     evidence that produces in your minds a firm belief or

    15     conviction that the allegations sought to be proved by the

    16     evidence are true.     This means evidence that satisfies you

    17     by a high degree of probability, different standard than a

    18     preponderance of the evidence.       More strict standard than

    19     preponderance of the evidence.

    20                 To decide for the plaintiff as to punitive

    21     damages, it is not enough to find that the preponderance

    22     of the evidence is in the plaintiff's favor.          A party who

    23     must prove her case by a preponderance of the evidence

    24     only need satisfy you that the evidence supporting her

    25     case more nearly represents what actually happened than


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                            Rebuttal Summation - Mr. Beins
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     1     the evidence that which is opposed to it.         But a party

     2     must establish her case by clear and convincing evidence,

     3     must satisfy you that the evidence makes it highly

     4     probable that what she claims is what actually happened.

     5                 If the plaintiff proves by a preponderance of

     6     the evidence in this case that she's entitled to a verdict

     7     for actual damages, and you further find that the acts or

     8     omissions of the defendant Novartis, which proximately

     9     caused injury or damage to the plaintiff were willfully or

    10     wantonly done, then you may add to the award of actual

    11     damages such amount as you shall unanimously agree to be

    12     proper as punitive damages.

    13                 An act or a failure to act is wantonly done if

    14     done in reckless or callous disregard of or indifference

    15     to the rights of the injured person.        Wanton and willful

    16     disregard means a deliberate act or omission with

    17     knowledge of a high degree of probability of harm to

    18     another, and reckless indifference to the consequences of

    19     such act or omission.

    20                 An act is willfully done if done voluntarily or

    21     intentionally.     In determining whether to award punitive

    22     damages, you should consider:

    23                 1.   The likelihood at the relevant time that

    24     serious harm would arise from the defendant's conduct.

    25                 2.   The defendant's awareness or reckless


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                            Rebuttal Summation - Mr. Beins
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     1     disregard of the likelihood that such serious harm would

     2     result from the conduct.

     3                 3.   The conduct of the defendant upon learning

     4     that its initial conduct could likely cause harm.

     5                 4.   The duration of the conduct or any

     6     concealment of the conduct by the defendant.

     7                 In this regard I instruct you that where a drug

     8     product manufacturer knowingly withheld or misrepresented

     9     information required to be submitted under the agency's

    10     regulations, which information was material and relevant

    11     to the harm in question, punitive damages may be awarded.

    12                 Whether or not to make any award of punitive

    13     damages in addition to actual damages is a matter

    14     exclusively within the province of the jury.          If you

    15     unanimously find from a preponderance of the evidence that

    16     the acts or omissions of the defendant Novartis, which

    17     proximately caused -- one minute, now.

    18                 I'm going to say that over again because I

    19     didn't say it correctly.      I make mistakes from time to

    20     time, and you know what happens?        The appellate court

    21     tells me all about it, from time to time I'm going to

    22     repeat that.

    23                 Whether or not to make any award of punitive

    24     damages in addition to actual damages is a matter

    25     exclusively within the province of the jury, if you


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                           Rebuttal Summation - Mr. Beins
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     1     unanimously find by clear and convincing evidence that the

     2     acts or omissions of the defendant Novartis which

     3     proximately caused actual damage to the plaintiff were

     4     wantonly or willfully done.

     5                 However, you should always bear in mind that

     6     such extraordinary damages would only be allowed if you

     7     first award the plaintiff for actual or compensatory

     8     damages, you should also bear in mind not only the

     9     conditions under which and the purposes for which the law

    10     permits an award of punitive damages to be made, but also

    11     the requirement in the law that the amount of such

    12     extraordinary damages, when awarded, must be fixed with

    13     calm discretion and must never be awarded or fixed an

    14     amount because of any sympathy or bias or prejudice with

    15     respect to any party in the case.

    16                 The plaintiff Barbara Davids contends that the

    17     Zometa label did not equal warn doctors about the risk of

    18     osteonecrosis of the jaw.       The defendant Novartis contends

    19     that the Zometa label did, in fact, adequately warn

    20     doctors about the risk of osteonecrosis of the jaw, based

    21     on the scientific information that was known or reasonably

    22     could have been known at the time.

    23                 Both parties have presented expert testimony

    24     that bears on this issue.

    25                 If you find that there is a legitimate


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                           Rebuttal Summation - Mr. Beins
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     1     disagreement among the experts concerning the questions of

     2     the Zometa warnings, that is, if you believe that their

     3     disagreement about the warnings is a reasonable one that

     4     simply reflects good faith in their professional

     5     judgments, then you may not award punitive damages.           Also,

     6     the amount of punitive damages, if any, that you may

     7     decide to award in this case must relate only to the harm

     8     allegedly caused to the plaintiff Barbara Davids.          You may

     9     not consider any harm that may have allegedly been done to

    10     other individuals who are not in this case.

    11                 Further, if you determine punitive damages are

    12     warranted in this case, you may consider in awarding the

    13     amount of such damages the benefits to society that the

    14     defendant Novartis provides as a manufacturer of the Food

    15     and Drug Administration approved pharmaceutical products,

    16     for the purpose of improving the quality of people's

    17     lives, if you so find.      So it is entirely up to you to

    18     decide whether or not punitive damages should be awarded.

    19                 In this respect, you have considerable

    20     discretion.    You may decide that even though compensatory

    21     damages have been awarded, you believe that no punitive

    22     damages are called for.      I can give you no objective

    23     yardstick for measuring punitive damages.         You will have

    24     to use your own common sense and experience and determine

    25     what amount would be appropriate to punish the defendant


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                           Rebuttal Summation - Mr. Beins
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     1     Novartis and subject it to punitive damages to create a

     2     deterrent example.

     3                  However, the amount of punitive damages should

     4     be fair and reasonable, and should be proportionate to the

     5     need to punish the defendant and to deter it from like

     6     conduct, but should not be based on whim or on

     7     unrestrained imagination.

     8                  Happily, this brings me to the closing part of

     9     these instructions.      You don't look happy.     You would like

    10     me to go on for another two hours.        But happily this

    11     brings me to the closing part of these instructions, some

    12     general rules regarding your deliberations.

    13                  Again I instruct you that your verdict must be

    14     unanimous.    It's magic how she comes in at the right time,

    15     or is it the microphone that's in her office?          I thought

    16     it was mind reading.

    17                  Again, I instruct you that your verdict must be

    18     unanimous, that is, all 11 of you must agree on each and

    19     every question to be answered in this verdict, and, as I

    20     told you, in the jury room your first task is to select a

    21     jury foreman or forewoman.

    22                  As I advised you, a written verdict sheet with

    23     questions will be submitted to you with spaces for you to

    24     answer.    In fact, the lawyers went over this to some

    25     extent in their closing arguments.        In the jury room after


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                           Rebuttal Summation - Mr. Beins
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     1     your deliberations on each question you are requested to

     2     answer each question you find appropriate to answer.

     3     Follow all the instructions carefully.         They are

     4     excellent.    I know because I did them myself.

     5                  After all the questions you find appropriate to

     6     answer are completed, the foreperson is then requested to

     7     sign and return the written verdict sheet to the deputy

     8     clerk, the answers to these questions will be your

     9     verdict.    You may not infer from the fact that questions

    10     are submitted to you or from the wording of the questions

    11     or from anything I say in instructing you concerning the

    12     questions that it is the court's view that your answer to

    13     any of the questions should be one way or the other, or

    14     that your verdict should be in favor of one party or

    15     another.

    16                  Madame Deputy, please give out the verdict

    17     sheets.

    18                  (Whereupon, there was a pause in the

    19     proceedings.)

    20                  THE COURT:   If I have your attention one minute

    21     more and we'll go over the verdict sheet.

    22                  Each juror will with a copy of the verdict sheet

    23     in the jury room to work with and there will be one extra

    24     copy for the foreperson to fill out and sign and bring in

    25     to the courtroom as your verdict, so you will each have a


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     1     copy of the verdict sheet to work with, write on, do

     2     whatever you want, but there will be one extra copy for

     3     the foreperson.     That will be the official verdict after

     4     you have reached a unanimous verdict.

     5                 I will now go over the form of the written

     6     verdict sheet.

     7                 In accordance with the principles of law as

     8     charged by the court, and the facts as you find them,

     9     please answer the following question.         As to the strict

    10     products liability cause of action:

    11                 1.   Did the plaintiff Barbara Davids prove that

    12     the warnings for the Zometa used by Barbara Davids were

    13     inadequate with regard to the osteonecrosis of the jaw,

    14     which Novartis either knew about or reasonably should have

    15     known about at the times at issue?        Yes, the plaintiff

    16     proved it, check that, or, no, the plaintiff failed to

    17     prove that, check that.

    18                 If your answer to question one is no, you have

    19     found a verdict in favor of the defendant Novartis in the

    20     strict products liability cause of action.         In that event,

    21     do not answer question two, and please proceed to question

    22     three.

    23                 The your answer to question one is yes, please

    24     answer question two.      The top of page two.

    25                 2.   Did the plaintiff Barbara Davids prove that


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     1     the failure to give an adequate warning was a substantial

     2     factor in bringing about the plaintiff's osteonecrosis of

     3     the jaw?    Yes, plaintiff proved it, no, she failed to

     4     prove it, check which one.

     5                 If your answer to question two is no, you found

     6     a verdict in favor of the defendant Novartis in the strict

     7     products liability cause of action.        In that event, please

     8     answer question three.

     9                 If your answer to question two is yes, that

    10     means you will have answered one and two, you have found a

    11     verdict in favor of the plaintiff Barbara Davids against

    12     the defendant Novartis in the strict products liability

    13     cause of action.     In that event, please answer question

    14     three.

    15                 As to the breach of implied warranty cause of

    16     action:

    17                 3.   Did the plaintiff Barbara Davids prove that

    18     Novartis breached its implied warranty of merchantability

    19     in that the warnings on the Zometa used by Barbara Davids

    20     were not adequate for the ordinary and regular use of the

    21     product?    Yes, the plaintiff proved it, check that, no,

    22     she failed to prove it, check that.

    23                 If your answer to question three is no, you have

    24     found a verdict in favor of the defendant Novartis in the

    25     breach of implied warranty cause of action.         In that


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                            Rebuttal Summation - Mr. Beins
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     1     event, do not answer question four, and please proceed to

     2     question five.

     3                 If your answer to question three is yes, please

     4     answer question four, top of page three.

     5                 4.    Did the plaintiff Barbara Davids prove that

     6     the breach of implied warranty was a substantial factor in

     7     bringing about the plaintiff's injuries from osteonecrosis

     8     of the jaw?      Yes, she proved it, no, she failed to prove

     9     it.   Check which one.

    10                 If your answer to question four is no, you have

    11     found a verdict in favor of the defendant Novartis in the

    12     breach of implied warranty cause of action.         In that

    13     event, please proceed to question five.

    14                 If your answer to question four is yes, you have

    15     found a verdict in favor of the plaintiff Barbara Davids

    16     in the breach of implied warranty cause of action.            In

    17     that event, please proceed to question five.

    18                 As to the negligence cause of action.

    19                 5.    Did the plaintiff Barbara Davids prove that

    20     the defendant Novartis was negligent in that it failed to

    21     provide an adequate warning with respect to the relation

    22     between Zometa and osteonecrosis of the jaw?          Yes, the

    23     plaintiff proved it, check yes.        No, the plaintiff failed

    24     to prove it, check no.

    25                 If your answer to question five is no, you have


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     1     found a verdict in favor of the defendant Novartis in the

     2     negligence cause of action.       In that event, do not answer

     3     question six, and please proceed to the instructions

     4     following question six.

     5                 If your answer to question five is yes, please

     6     answer question six, top of page four.

     7                 6.   Did the plaintiff Barbara Davids prove that

     8     the negligence of the defendant Novartis in failing to

     9     give an adequate warning was a substantial factor in

    10     causing the injuries to plaintiff Barbara Davids?          Yes,

    11     she proved it, no, she failed to prove it, check which

    12     one.

    13                 If your answer to question six is no, you have

    14     found a verdict in favor of the defendant Novartis in the

    15     negligence cause of action.       Please proceed to the

    16     instructions following this question.

    17                 If your answer to question, it should be

    18     question six, not questions six, question six is yes, you

    19     can put a little cross out that S and make it if your

    20     answer to question six is yes, you have found a verdict in

    21     favor of the plaintiff in the negligence cause of action.

    22     Please proceed to the instructions following this

    23     question.

    24                 Instructions.

    25                 If your verdict is in favor of the defendant


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     1     Novartis on all of the liability causes of action, cease

     2     deliberations.     The foreperson is requested to date and

     3     sign the verdict sheet and announce by note that you have

     4     reached a verdict and are prepared to return to the

     5     courtroom to announce your verdict.

     6                 Only if your verdict is in favor of the

     7     plaintiff Barbara Davids against the defendant Novartis

     8     Pharmaceuticals Corporation on any of the liability causes

     9     of action, please answer the damages questions that

    10     follow.    Page six, top, as to damages.

    11                 7.   What amount do you award to the plaintiff

    12     Barbara Davids for her injuries and her pain and suffering

    13     incurred to the present date, blank dollars, one sum.

    14                 8.   What amount do you award to the plaintiff

    15     Barbara Davids for her injuries and her pain and suffering

    16     to be incurred in the future, blank dollars, one sum.

    17                 As to punitive damages:

    18                 9.   Did the plaintiff Barbara Davids prove that

    19     defendant Novartis knowingly withheld or misrepresented

    20     information and warnings required to be submitted under

    21     the Food and Drug Administration's regulations as to the

    22     relationship between Zometa and osteonecrosis of the jaw,

    23     which information and warnings were material and relevant

    24     to Barbara Davids's injuries?

    25                 Now, that's quite a large paragraph, but you can


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     1     read it again when you are in the jury room.          If the

     2     plaintiff proved this, knowingly withheld or

     3     misrepresented information and warnings that were material

     4     and relevant, answer check yes.

     5                 If the plaintiff failed to prove it, check no.

     6     Follow the instructions.      If your answer to question nine

     7     is no, no punitive damages can be awarded.         In that event,

     8     cease deliberations.      The foreperson is requested to date

     9     and sign the verdict sheet and announce by note that you

    10     have reached a verdict and are prepared to return to the

    11     courtroom to announce your verdict.

    12                 If your answer to question nine is yes, please

    13     answer question ten, to top of page six.

    14                 10.    Did the plaintiff Barbara Davids prove that

    15     the injury, loss or harm suffered by the plaintiff was a

    16     result of defendant Novartis's acts or omissions with

    17     regard to inadequate warnings, and, that the conduct of

    18     the defendant Novartis was in wanton and willful disregard

    19     of Ms. Davids's rights?

    20                 I have defined what wanton and willful mean.         If

    21     you find the plaintiff proved that, and this, by the way,

    22     nine and ten are by clear and convincing evidence, if you

    23     find the plaintiff proved that, check yes.         If she failed

    24     to prove it, check no.

    25                 If your answer to question ten is no, no


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     1     punitive damages can be awarded.        In that event, cease

     2     deliberations.      The foreperson is requested to date and

     3     sign the verdict sheet, and announce by note that you have

     4     reached a verdict and are prepared to return to the

     5     courtroom to announce your verdict.

     6                  If your answer to question ten is yes punitive

     7     damages can be awarded.      Please answer question 11.

     8                  11.    What amount, if any, do you award in

     9     punitive damages to punish defendant Novartis's conduct in

    10     regard to the lack of adequate warnings as to Zometa and

    11     to deter it from similar wrongful conduct in the future,

    12     blank dollars, one sum.

    13                  Then you reach that point, the foreperson signs

    14     and dates the verdict sheet, and by note advise the court

    15     that you have reached a verdict and are ready to return to

    16     the courtroom to announce your verdict, and the foreperson

    17     will fill in the date, and sign the verdict sheet, the

    18     extra verdict sheet that you have.

    19                  Also, you have received most of the exhibits,

    20     and I will send in the other exhibits if there are any you

    21     convenient received and lists of the exhibits, and a copy

    22     of these instructions in writing when they are completed.

    23     Please do not discuss this case with anyone outside the

    24     jury room.    If you have to communicate you will do it in

    25     writing to me by a note signed by your foreperson.


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                           Rebuttal Summation - Mr. Beins
                                                                          2993

     1                 As you have already discovered, and used, we

     2     have a buzzer signal, and when you have a question in

     3     writing, or reach a verdict, please press the buzzer.           It

     4     will serve as your signal to us that you have a question,

     5     or that you have reached a unanimous verdict.

     6                 No member of the jury should ever attempt to

     7     communicate with the court by any means other than a

     8     signed writing, and the court will never communicate with

     9     any member of the jury on any subject touching the merits

    10     of this case, otherwise than in writing or orally here in

    11     open court.    Bear in mind also that you are never to

    12     reveal to any person, not even to the court, how the jury

    13     stands numerically or otherwise on any question before you

    14     until after you have reached a unanimous verdict.

    15                 I have now outlined for you the rules of law

    16     applicable to this case, and the processes by which you

    17     weigh the evidence and determine the facts.         In a few

    18     minutes you will retire to the jury room for your

    19     deliberations, but, of course, you are going to go over

    20     until tomorrow morning.      It's too late now.

    21                 In order that your deliberations may proceed in

    22     an orderly fashion, you must have a foreperson, which you

    23     will select.    But, of course, her or his vote is entitled

    24     to no greater weight than that of any other juror.

    25                 Your function, to reach a fair conclusion from


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     1     the law and the evidence, is an important one.          When you

     2     are in the jury room listen to each other, and discuss the

     3     evidence and issues in the case among yourselves.          It is

     4     the duty of each of you as jurors to consult with one

     5     another and to deliberate with a view of reaching

     6     agreement on this verdict, if you can do so without

     7     violating your individual judgment and your conscience.

     8                 While you should not surrender conscientious

     9     convictions of what the truth is, and of the weight and

    10     effect of the evidence, and while each of you must decide

    11     the case for yourself and not merely acquiesce in the

    12     conclusion of your fellow jurors, you should examine the

    13     issues and the evidence before you with candor and

    14     frankness and with proper deference to and regard for the

    15     opinions of each other.

    16                 While you may have honest differences of opinion

    17     with your fellow jurors during the deliberations, each of

    18     you should seriously consider the arguments and opinions

    19     of the other jurors.      Do not hesitate to change your

    20     opinion if after discussion of the issues and

    21     consideration of the facts and evidence in the case you

    22     are persuaded that your initial position is incorrect.

    23                 However, I emphasize that no juror should vote

    24     for a verdict unless it represents his or her

    25     conscientious judgment.      Remember in your deliberations


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     1     that the dispute between the parties is for them no

     2     passing matter.     They and the court rely upon you to give

     3     full and conscientious deliberation and consideration to

     4     the issues and evidence before you.

     5                 By so doing, you carry out to the fullest your

     6     oath as a jury man and jury woman, to well and truly try

     7     the issues of this case, and to render a true verdict.

     8                 I will now speak to the lawyers one more time.

     9                 (Continued on next page.)

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